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UNITED STATES DISTRICT COURT

 

 

DlSTRlCT OF COLUMBIA
"\»jiL`L`{/§ii`i`.i=_`§,"e}`;i`, """"""" " "?‘
Plaintiffs, Case No.: l9-cv-830
-against- '
lSLAMlC REPUBLIC OF IRAN,
Defendant.
....... __ ___ _______ x

PRGPOS'EB ORDER

Upon consideration of Plaintiff`s’ Ex Parte Motion for Waiver of` Local Civil Rule
5.l(c), it is hereby

ORDERED, that the requirement of Loca| Civil Rule 5.l(c) that the “full residence
address of the party” be included in the caption of the initial pleading is hereby waived; and it
is Further

ORDERED, that the P|aintiff`s file under seal a list containing the names and residence
addresses of all Plaintiffs within 30 days of the date of this Order; and it is further

ORDERED, that the Clerk of Court accept the Complaint submitted with the Plaintiffs’

Ex Parte Motion for Waiver of Loca| Rule S.I(c) and issue process directed to the Defendant.

SO ORDE_RED this j: day of__ _Axr_\ _ v_¢, 2019.

 

 

